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                   8
                   9                              UNITED STATES DISTRICT COURT
              10                                CENTRAL DISTRICT OF CALIFORNIA
              11
                        CITY OF ALMATY,                           Case No. 14-cv-03650-FMO
              12
                                            Plaintiff,            Consolidated with Case No. 15-cv-02628-
              13                                                  FMO
                                v.
              14                                                  Assigned To: Hon. Fernando M. Olguin
                        VIKTOR KHRAPUNOV, et al.,
              15                                                  JOINT STIPULATION TO EXTEND
                                            Defendants.           TIME TO IDENTIFY AND NAME
              16                                                  “DOE” DEFENDANTS
              17                                                  [Proposed Order; Declaration of Jonathan
                                                                  M. Jackson filed concurrently herewith]
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                                                                  Action Filed: April 15, 2015
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                       US-DOCS\96342104.2                                  JOINT STIPULATION TO EXTEND TIME TO IDENTIFY
ATTORNEYS AT LAW
  LOS ANGELES
                                                                                           AND NAME “DOE” DEFENDANTS
      Case 2:14-cv-03650-FMO-CW Document 176 Filed 11/14/17 Page 2 of 3 Page ID #:7107


                   1                                  JOINT STIPULATION
                   2            Plaintiff the City of Almaty (“Plaintiff”) and defendants Madina Ablyazova,
                   3 Iliyas Khrapunov, Leila Khrapunov, Viktor Khrapunov, Elvira Khrapunov a/k/a
                   4 Elvira Kudryashova; Dmitry Kudryashov; RPM USA, LLC; RPM-Maro LLC;
                   5 Maro Design LLC; Haute Hue LLC; 628 Holdings LLC; Candian International
                   6 Ltd.; Elvira Kudryashova as Trustee of The Kasan Family Trust; and Dmitry
                   7 Kudryashov as Trustee of The Kasan Family Trust (“Defendants”), by and through
                   8 their respective counsel of record, hereby enter into the following stipulation
                   9 regarding the time to identify and name “Doe” defendants.
              10                WHEREAS, in its Order of August 2, 2017, the Court granted the parties’
              11 joint stipulation (Dkt. 142), which required Plaintiff to identify and name all “Doe”
              12 defendants by November 15, 2017 (Dkt. 143);
              13                WHEREAS, Plaintiff anticipates receiving discovery responses from
              14 Defendants on November 17, 2017, which will assist Plaintiff in its ability to
              15 identify and name any additional “Doe” defendants;
              16                WHEREAS, Plaintiff is currently drafting its response to Defendants’
              17 Motion to Dismiss, which is due by November 22, 2017;
              18                WHEREAS, a brief extension of time will assist Plaintiff in determining
              19 whether and to what extent it believes additional “Doe” defendants should be
              20 added;
              21                WHEREAS, neither party has previously requested an extension of time to
              22 identify and name all remaining “Doe” defendants;
              23                ACCORDINGLY, THE PARTIES HEREBY JOINTLY STIPULATE AND
              24 AGREE that, subject to the Court’s approval, the deadline for Plaintiff to identify
              25 and name all “Doe” defendants shall be extended from November 15, 2017 to
              26 December 15, 2017.
              27                IT IS SO STIPULATED.
              28
                       US-DOCS\96342104.2                                  JOINT STIPULATION TO EXTEND TIME TO IDENTIFY
ATTORNEYS AT LAW
  LOS ANGELES
                                                                                           AND NAME “DOE” DEFENDANTS
      Case 2:14-cv-03650-FMO-CW Document 176 Filed 11/14/17 Page 3 of 3 Page ID #:7108


                   1 DATED:                 November 14, 2017               LATHAM & WATKINS LLP
                   2                                                 By    /s/ Jonathan M. Jackson
                                                                          David J. Schindler
                   3                                                      Jonathan M. Jackson
                                                                          Kendall M. Howes
                   4                                                 Attorneys for Plaintiff
                   5
                        DATED:              November 14, 2017               BOERSCH SHAPIRO LLP
                   6
                                                                     By /s/ Lara Kollios
                   7                                                      Martha Boersch
                                                                          Lara Kollios
                   8                                                 Attorneys for Defendants
                   9
              10 Attestation:
              11                I attest and certify that all other signatories listed, and on whose behalf the
              12 filing is submitted, concur in the filing’s content and have authorized the filing.
              13 DATED: November 14, 2017                                 /s/ Jonathan M. Jackson
                                                                          Jonathan M. Jackson
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                       US-DOCS\96342104.2                                      JOINT STIPULATION TO EXTEND TIME TO IDENTIFY
ATTORNEYS AT LAW
  LOS ANGELES                                                        2                         AND NAME “DOE” DEFENDANTS
